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           EXHIBIT 15
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                                                                    Page 1

   1
   2          IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF VIRGINIA
   3          ALEXANDRIA DIVISION
   4          -------------------------------------------X
              UNITED STATES, et al.,
   5
                                                      PLAINTIFF,
   6
                          -against-                   Case No.:
   7                                       1:23-CV-00108-LMB-JFA
   8
              GOOGLE, LLC,
   9
                                                      DEFENDANT.
  10          -------------------------------------------X
  11
  12                                  DATE: September 20, 2023
  13                                  TIME: 9:30 A.M.
  14
  15                  VIDEOTAPED DEPOSITION of LARA STOTT,
  16          taken by the Defendant, pursuant to a Court
  17          Order, held via videoconference, before
  18          Rivka Trop, a Notary Public of the State of
  19          New York.
  20
  21
  22
  23
  24
  25      Job No. CS6097892

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                                                        Page 2                                            Page 4
        1                                                         1          L. STOTT
        2   A P P E A R A N C E S:
        3
                                                                  2      record.
        4   UNITED STATES DEPARTMENT OF JUSTICE                   3         MS. MILLIGAN: Heather Milligan
             Attorneys for the Plaintiff                          4      from Paul, Weiss, Rifkind, Wharton &
        5    UNITED STATES, ET AL
             450 Fifth Street, N.W.
                                                                  5      Garrison on behalf of Google. With me
        6    Washington, D.C. 20530                               6      is my colleague, Martha Goodman.
             BY: KATHERINE CLEMONS, ESQ.                          7         MS. CLEMONS: This is Katherine
        7          -and-
        8      RACHEL ZWOLINSKI, ESQ.
                                                                  8      Clemons, with the Department of
        9          -and-                                          9      Justice, on behalf of the United States
       10       ALVIN CHU, ESQ.                                  10      and the witness.
       11
            PAUL, WEISS, RIFKIND, WHARTON & GARRISON,
                                                                 11         MS. ZWOLINSKI: Rachel Zwolinski,
       12   LLP                                                  12      on behalf of the United States.
             Attorneys for the Defendant                         13         MR. CHU: Alvin Chu, on behalf of
       13    GOOGLE, LLC
                                                                 14      the United States.
             2001 K Street, N.W.
       14    Washington, D.C. 20006                              15         MR. ELLIS: Captain Michael Ellis,
             BY: HEATHER MILLIGAN, ESQ.                          16      Air Force Recruiting Service.
       15         -and-                                          17         THE VIDEOGRAPHER: Will the court
       16      MARTHA L. GOODMAN, ESQ.
       17                                                        18      reporter, please, swear in the witness.
       18   ALSO PRESENT:                                        19   L A R A S T O T T, called as a witness,
              ORSON BRAITHWAITE, Videographer                    20   having been first duly sworn by a Notary
       19
       20      CAPTAIN MICHAEL ELLIS                             21   Public of the State of New York, was
       21         * * *                                          22   examined and testified as follows:
       22                                                        23   EXAMINATION BY
       23
       24                                                        24   MS. MILLIGAN:
       25                                                        25      Q. Please state your name for the
                                                        Page 3                                            Page 5
       1             L. STOTT                            1                    L. STOTT
       2            THE VIDEOGRAPHER: Good morning we 2               record.
       3        are going on the record at 9:39 a.m.,    3                A. Lara Stott.
       4        on September 20, 2023. Please note       4                Q. Good morning, Ms. Stott. We met
       5        that the microphones are sensitive and   5            the other day.
       6        may pick up whispering, private          6                   Just for the record, my name is
       7        conversations, please mute your phones   7            Heather Milligan, and I represent Google.
       8        at this time. Audio and video            8            You are the senior strategic adviser for
       9        recording will continue to take place    9            marketing to the commander at Air Force
      10        unless all parties agree to go off the  10            Recruiting Service, is that right?
      11        record.                                 11                A. Yes.
      12            This is media unit 1 of the         12                Q. Do you understand that you are
      13        deposition Ms. Lara Stott in the matter 13            testifying today as a corporate
      14        of United States et al. versus Google,  14            representative of the Air Force?
      15        LLC, founded in the United States       15                A. I do.
      16        District Court, Eastern District of     16                Q. In preparing for your testimony
      17        Virginia, Alexandria Division, Case No. 17            today, did you review the overarching
      18        1:23-CV-00108-LMB-JFA.                  18            contract between the Air Force and GSD&M?
      19            My name is Orson Braithwaite from   19                A. Yes, I did.
      20        Veritext Legal Solutions, and I am the  20                   MS. MILLIGAN: Can we go off the
      21        videographer.                           21                record for just a minute.
      22            The court reporter is Rivka Trop    22                   THE VIDEOGRAPHER: The time is
      23        from the firm Veritext Legal Solutions. 23                9:41 a.m. We are off the record.
      24            Counsel will now state their        24                   (Whereupon, an off-the-record
      25        appearances and affiliated for the      25                discussion was held.)
                                                                                                 2 (Pages 2 - 5)
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                                                 Page 54                                              Page 56
       1           L. STOTT                              1             L. STOTT
       2   to that though as task order 28.              2      Counsel for the Department of Defense?
       3       Q. Could you clarify?                     3             MS. CLEMONS: Objection to form.
       4       A. So that is the call number of the      4          A. Yes, the Air Force was directed by
       5   actual contract. But each individual task     5      the DOD Office of General Counsel.
       6   order has a number that started with 1 and    6          Q. Did Air Force conduct any
       7   continues to go up under the current          7      investigation before -- strike that.
       8   contract. And on page ending in 00003 you     8             Did Air Force conduct any
       9   will see at the top it says there FY20        9      investigation into the claims and
      10   special warfare combat support advertising   10      allegations made in the complaint prior to
      11   task order 0028.                             11      deciding to participate in this lawsuit?
      12          I am just telling you that is how     12             MS. CLEMONS: Objection to form,
      13   we reference them.                           13          foundation.
      14       Q. You could set that aside.             14          A. Our involvement by Air Force, Big
      15          How did the Air Force become          15      Air Force did not become involved until
      16   involved in this litigation?                 16      December 23 and Air Force Recruiting Service
      17       A. I would need to refer to my notes,    17      not until January 12 of 2023. That was the
      18   one second.                                  18      beginning of our involvement.
      19          On December 23 of 2022, Michael       19          Q. What did Air Force tell its ad
      20   Wolin with the Department of Justice         20      agency, GSD&M, about this lawsuit?
      21   e-mailed the Department of Defense Office of 21             MS. CLEMONS: Objection to form,
      22   General Counsel, Sivram Prasad. And then     22          foundation.
      23   Sivram Prasad then contacted the Air Force   23          A. I did not have any conversations
      24   on December 23. And then internally that     24      with Ms. Dickey or with Ms. Hatch about how
      25   communication reached Mr. Barry Dickey at 25         GSD&M was notified or involved.
                                                 Page 55                                              Page 57
       1           L. STOTT                                 1           L. STOTT
       2   Air Force Recruiting Service on January 12       2          I can't really say if DOD reached
       3   of 2023.                                         3   out to them directly or if that notification
       4       Q. Is Air Force involved in this             4   came from Air Force Recruiting Service, but
       5   litigation -- strike that.                       5   I don't know.
       6           Prior to outreach by Michael             6      Q. What facts are Air Force aware of
       7   Wolin, did Air Force have any plans to sue       7   regarding Google's alleged monopolization?
       8   Google based on anything relating to the         8          MS. CLEMONS: Object to the extent
       9   subject matter of the complaint?                 9      that calls for privileged
      10           MS. CLEMONS: Objection to form.         10      communications with counsel. If you
      11       A. No, our first involvement or first       11      could answer without referring to
      12   notification there was on December 23, 2022.    12      privileged communications with counsel,
      13       Q. Did Air Force have a choice to           13      you may do so.
      14   participate in this litigation?                 14      A. That would all have been
      15           MS. CLEMONS: Objection to form.         15   conversations with counsel.
      16       A. That was directed by the                 16      Q. Ms. Stott, what did you do to
      17   Department of Defense, Office of General        17   prepare for today's deposition?
      18   Counsel.                                        18      A. I had probably eight to ten
      19       Q. Are you saying that the decision         19   meetings with counsel. I reviewed multiple
      20   to participate in this litigation -- strike.    20   documents and spent a total of about 60
      21           Are you saying that Air Force's         21   hours either reviewing documents or having
      22   decision -- strike that.                        22   conversations with people internal at
      23           Are you saying that Air Force's         23   Recruitment Service Marketing including
      24   participation in this litigation is due to a    24   Ms. Hatch, Mr. Dickey, Maj. Lane. I also
      25   decision made by the Office of General          25   spoke with Maj. Brian Murray and Ms. Larisa
                                                                                         15 (Pages 54 - 57)
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                                                                 Page 62                                               Page 64
        1             L. STOTT                                              1        L. STOTT
        2             DECLARATION                                           2        CERTIFICATE
        3                                                                   3
        4       I hereby certify that having been first                     4   STATE OF NEW YORK          )
        5    duly sworn to testify to the truth, I gave                                    : SS.:
        6    the above testimony.                                           5   COUNTY OF QUEENS           )
        7                                                                   6
        8        I FURTHER CERTIFY that the foregoing                       7       I, RIVKA TROP, a Notary Public for and
        9    transcript is a true and correct transcript                    8   within the State of New York, do hereby
       10    of the testimony given by me at the time and                   9   certify:
       11    place specified hereinbefore.                                 10       That the witness whose examination is
       12                                                                  11   hereinbefore set forth was duly sworn and
       13                                                                  12   that such examination is a true record of
       14                                                                  13   the testimony given by that witness.
                      _________________________                            14       I further certify that I am not related
       15                 LARA STOTT                                       15   to any of the parties to this action by
       16                                                                  16   blood or by marriage and that I am in no way
       17                                                                  17   interested in the outcome of this matter.
       18    Subscribed and sworn to before me                             18       IN WITNESS WHEREOF, I have hereunto set
       19    this _____ day of ________________ 20___.                     19   my hand this 20th day of September, 2023.
       20                                                                  20
       21                                                                  21
             _________________________                                     22
       22       NOTARY PUBLIC                                                         <%5636,Signature%>
       23                                                                  23          RIVKA TROP
       24                                                                  24
       25                                                                  25
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       15           USAF-ADS-000061-8109
       16   129      Document bearing Bates 29
                    USAF-ADS-000077-1565
       17
            130      Document bearing Bates 39
       18           USAF-ADS-000077-1759
       19   131      Document Bates No.    46
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       21           USAF-ADS-000084-8189
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       24         (Exhibits retained by counsel.)
       25

                                                                                                           17 (Pages 62 - 64)
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